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 1        IN THE CHANCERY COURT FOR THE STATE OF TENNESSEE
       TWENTIETH JUDICIAL DISTRICT, DAVIDSON COUNTY, PART III
 2

 3    ABU-ALI ABDUR'RAHMAN, et al.,              )
                                                 )     No. 18-183-III
 4          Plaintiffs,                          )
                                                 )
 5    V.                                         )     Death Penalty Case
                                                 )
 6    TONY PARKER, et al.,                       )
                                                 )
 7          Defendants.                          )

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 9

10

11                              The deposition of

12                                 DEBBIE   INGLIS

13                   Taken on Behalf of the Plaintiffs

14                                 June 21, 2018

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17    -------------------------------------------------------

18

19

20                             WILMA O. HUTCHISON
                            Licensed Court Reporter
21                            400 Rivercrest Court
                              Nashville, TN 37214
22                                (615)889-6288

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 1           Q.     Has the Department obtained a subscription

 2    for potassium chloride?

 3           A.     No.

 4                         MR. SUTHERLAND:       Do you mean

 5           prescription?

 6                         MS. HENRY:      I'm sorry.

 7                         THE WITNESS:      Physician's order?

 8                         MS. HENRY:      No.   Actually I mean

 9           prescription.

10           Q.     (By Ms. Henry)       Have they obtained a

11    prescription?

12           A.     No, not at this time.

13           Q.     And why do you feel like it's a physician's

14    order instead of a prescription?

15           A.     Well, that's what we call it.

16           Q.     Do you understand there's a difference?

17           A.     Yes.

18           Q.     And do you understand that a prescription is

19    required for compounding midazolam?

20           A.     That's what we'll have.

21           Q.     And why haven't you obtained one yet?

22           A.     Because we are not asking for it to be

23    compounded yet.

24           Q.     And why not?

25           A.     Because the next date is, I believe, August




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 1    9th.

 2           Q.     And when will you request the prescription?

 3           A.     In a few weeks.

 4           Q.     And you have a doctor, without identifying

 5    the doctor, who's willing to write the prescription?

 6           A.     Yes.

 7           Q.     What type of testing will the outside lab

 8    perform on the midazolam?

 9           A.     It will test for sterility, efficacy, and a

10    beyond-use date.

11           Q.     What about stability testing?

12           A.     Yes.

13           Q.     Will those results be made available to

14    plaintiff's counsel?

15           A.     I haven't thought about it, but the redacted

16    version would be a public record.

17           Q.     Will you provide it to plaintiff's counsel

18    prior to their client being executed?

19           A.     If you ask for it.

20           Q.     Well, we're asking for it now.             Will it be

21    provided prior to the execution?

22           A.     Yes.

23           Q.     Would the plaintiff's counsel be able to

24    independently test the midazolam for sterility, purity,

25    stability?




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 1           A.     No, I don't think so.

 2           Q.     And why not?

 3           A.     I mean, we only want to use enough amount to

 4    have an outside lab test it, and that's what we're

 5    going to do.

 6           Q.     How is the injection solution prepared for

 7    the midazolam using the compounded drugs?

 8           A.     Compounded drugs?        I don't know.

 9           Q.     What will the quantity of the syringe be?

10           A.     I don't know.       I don't know.       I think 50 cc's

11    for each syringe.

12           Q.     Do you know what solution the compounded

13    midazolam will be prepared in?

14           A.     It will be what's called for in the protocol.

15           Q.     I'm not asking you what's called for in the

16    protocol.      You understand that when you compound a

17    drug, you take the dry powder form, and you mix it with

18    a solution?

19           A.     Absolutely, yeah.

20           Q.     What's the solution they'll be mixing it with

21    when they give you --

22           A.     It's bacteria static saline, I believe.

23           Q.     For the midazolam?

24           A.     I think so.      But you're getting into an area

25    with me that I'm not really conversant in.




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 1           Q.     Is that information written down somewhere?

 2           A.     I don't know.

 3           Q.     Who would know?

 4           A.     The same person that we've been talking

 5    about, and that information would come from the

 6    supplier, the directions.

 7           Q.     Has the supplier provided directions?

 8           A.     I believe he has.

 9           Q.     Written directions?

10           A.     I don't know.       I don't know if it's phone

11    calls or what, but I know there have been discussions.

12           Q.     What has been the nature of the discussions?

13           A.     I haven't been involved in them.             But it

14    would be along the lines of, how do we prepare what we

15    will receive from you.

16           Q.     How is the pH tested for in the solution that

17    is being compounded?

18           A.     I don't know.

19           Q.     You understand the pH is important?

20           A.     Yes.

21           Q.     How will the midazolam travel through

22    interstate commerce to get from where it is to

23    Riverbend Maximum Security Institution?

24           A.     We anticipate that it will be shipped.

25           Q.     Using a commercial company?




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 1    person who has personal knowledge of that or they've

 2    learned it?

 3           A.     Yes.

 4           Q.     And they say they won't sell if it's to be

 5    used in a lethal injection, not that they won't sell to

 6    Departments of Corrections; is that correct?

 7           A.     That's what it says.

 8           Q.     Okay.     In fact, there are drug suppliers that

 9    specialize in supplying drugs to Departments of

10    Corrections, aren't there?

11           A.     Yes.

12           Q.     Can you turn to -- will you turn to Bates 46?

13    And on Bates 46, look at that third bullet point.                      And,

14    once again, at the third bullet point, the third bullet

15    point indicates that the person who made this inquiry

16    on behalf of the Department of Corrections only

17    inquired whether it would be sold for lethal injection

18    purposes, not whether it would be sold to the

19    Department of Corrections in general.                That's the

20    inquiry that was made.

21           A.     No.     I think you're misreading that.            The

22    inquiry was about getting permission to import it.

23           Q.     "When told that the companies who do have a

24    supply would not sell their supply for use in lethal

25    injections."




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